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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:17-CR-155-MCE
12                                  Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                           TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                            ORDER
14   LUIS NUNEZ,                                           DATE: February 20, 2020
     PABLO VARGAS,                                         TIME: 10:00 a.m.
15   GREGORIO NUNEZ,                                       COURT: Hon. Morrison C. England, Jr.
16                                 Defendant.
17

18                                                 STIPULATION

19          Plaintiff United States of America, by and through its counsel of record, and defendants Pablo

20 Vargas and Gregorio Nunez, by and through their respective counsel of record, hereby stipulate as
21 follows:

22          1.       By previous order, this matter was set for status on February 20, 2020, and then continued

23 to June 25, 2020, at 10:00 a.m., on the Court’s own motion.

24          2.       By this stipulation, defendants Pablo Vargas and Gregorio Nunez now move to exclude

25 time between the date of this stipulation and order, and June 25, 2020, under Local Code T4. Defendant

26 Luis Nunez entered a guilty plea in this matter on February 18, 2020, and does not join in this
27 stipulation.

28          3.       The parties to this stipulation agree and stipulate, and request that the Court find the


      STIPULATION REGARDING EXCLUDABLE TIME                1
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1 following:

 2                a)      The government has represented that the discovery associated with this case

 3        includes several reports, which the government has produced, as well as video and audio

 4        surveillance, which the government is in the process of producing. In addition, there is physical

 5        evidence involved in this case, including firearms. All of this discovery has been either

 6        produced directly to counsel, is in the process of being produced, or made available for

 7        inspection and copying.

 8                b)      Counsel for defendant desires additional time to review the discovery, and will

 9        need additional time as more discovery become available. Defense counsel will also need time

10        to review the current charges, to investigate and conduct research related to the current charges,

11        and to discuss potential resolutions with her client, to prepare pretrial motions, and to otherwise

12        prepare for trial.

13                c)      Counsel for defendant believes that failure to grant the above-requested

14        continuance would deny him/her the reasonable time necessary for effective preparation, taking

15        into account the exercise of due diligence.

16                d)      The government does not object to the continuance.

17                e)      Based on the above-stated findings, the ends of justice served by continuing the

18        case as requested outweigh the interest of the public and the defendant in a trial within the

19        original date prescribed by the Speedy Trial Act.

20                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

21        et seq., within which trial must commence, the time period of the date of this stipulation and

22        order, to June 25, 2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),

23        B(iv) [Local Code T4] because it results from a continuance granted by the Court at defendant’s

24        request on the basis of the Court’s finding that the ends of justice served by taking such action

25        outweigh the best interest of the public and the defendant in a speedy trial.

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     STIPULATION REGARDING EXCLUDABLE TIME              2
30   PERIODS UNDER SPEEDY TRIAL ACT
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 1          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

 5   Dated: March 13, 2020                                     MCGREGOR W. SCOTT
                                                               United States Attorney
 6
                                                               /s/ JAMES R. CONOLLY
 7                                                             JAMES R. CONOLLY
                                                               Assistant United States Attorney
 8

 9
     Dated: March 13, 2020                                     /s/ T. LANCE ARCHER
10
                                                               T. LANCE ARCHER
11                                                             Counsel for Defendant
                                                               PABLO VARGAS
12

13   Dated: March 13, 2020                                     /s/ THOMAS A. JOHNSON
                                                               THOMAS A. JOHNSON
14                                                             Counsel for Defendant
                                                               GREGORIO NUNEZ
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17
                                                       ORDER
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            IT IS SO ORDERED.
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     Dated: March 19, 2020
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      STIPULATION REGARDING EXCLUDABLE TIME                3
30    PERIODS UNDER SPEEDY TRIAL ACT
